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                        UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF ARKANSAS


LAURALYNN HAMMETT, an                )   Case No.:   L/, · ,2/C! V/?9-Rt,,6
individual,                          )
                                     )
           Plaintiff,                )   COMPLAINT FOR STATUTORY
                                     )   VIOLATIONS OF THE
     vs.                             )   TELEPHONE CONSUMER
                                     )   PROTECTION ACT AND THE
PORTFOLIO RECOVERY                   )   FAIR DEBT COLLECTION
AS SOCIATES, LLC, a Limited          )   PRACTICES ACT; AND TORTS OF
Liability Company; DOES 1-99         )   INTENTIONAL INFLICTION OF
                                     )   EMOTIONAL DISTRESS,
           Defendants                )   OUTRAGE AND INVASION OF
                                     )   PRIVACY, INTRUSION
                                     )
                                     )   JURY TRIAL DEMANDED
                                     )
                                     )
                                     )       This case assigned to District ~~~=:i.:::::;..=::::....
                                     )       and to Magistrate Judge_J.~~~.:::.L..,£1&"'--
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    1.       Separate Defendant Portfolio Recovery Associates, LLC, one of the

    nation's largest credit purchasers and consumer debt collectors, has policies and

    practices they used to harass, annoy, intrude on the solitude, and deceive Plaintiff

    Laura Lynn Hammett. Plaintiff seeks damages under the Fair Debt Collection

    Practices Act,15 U.S.C. § 1692 et seq. ("FDCPA"), the Telephone Consumer

    Protection Act, 47 U.S.C. § 227 et seq. ("TCPA"), the tort of Intentional Infliction

    of Emotional Distress, known as Outrage and the tort of Invasion of Privacy by

    Intrusion.



    Jurisdiction and Venue

    2.       This Court has original jurisdiction pursuant to 28 U.S.C. § 1332,

    because this is a civil action in which Laura Lynn Hammett ("Plaintiff' or

    "Hammett") is a citizen of and residing in Arkansas; Defendant Portfolio Recovery

    Associate~ LLC ("Defendant" or "PRA") is a Delaware Limited Liability

    Company and is not registered with the Arkansas Secretary of State; and the

    amount in controversy exceeds $75,000 exclusive of interest and costs; 28 U.S.C.

    1331, because it involves federal questions; and specifically, 15 U.S.C. §1692k(d).

    This Court has supplemental jurisdiction over the state claims pursuant to 28

    u.s.c. § 1367.

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3.        Venue is proper in the Eastern District of Arkansas under 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to the

claim occurred in Faulkner County, which is in the Eastern District.

4.        In connection with the acts, transactions, and conduct alleged herein,

Defendants directly and indirectly used the means and instrumentalities of

interstate commerce, including the United States mail and interstate telephone

communications.



The Parties

5.        Laura Lynn Hammett is an individual residing in Faulkner County,

Arkansas. She is a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a(3).

6.        Hammett was named Laura Lynn before her current marriage.

7.        Hammett lived in California for her first 53 years, except for 3 years

when she studied journalism out of state. She kept the California phone number

that she has owned since 2001.

8.        Separate Defendant Portfolio Recovery Associates,- LLC is a Delaware

Limited Liability Company with no registration in Arkansas. PRA is subject to

specific personal jurisdiction in Arkansas, because it availed itself of the rights and

duties of a citizen of Arkansas by instigating profuse communications with a

citizen of Arkansas by telephone, with the intent to inflict emotional distress-
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through abusive debt collection practices and invade the privacy of the Arkansas

citizen; and is licensed by the Arkansas State Board of Collection Agencies,

subjecting it to long arm jurisdiction, A.K.A. § 17-24-401.

9.          PRA is in the principal business of purchasing debt from original

creditors and collecting that consumer debt. It has been sued for unlawful debt

collection practices in Arkansas. PRA is a "debt collector" as defined by the

FDCPA, 15 U.S.C. § 1692a(6).

10.         PRA is liable for the acts of its employees by the theory of Respondeat

Superior.

11.         Plaintiff does not know the true names, legal capacities or exact nature of

the involvement of the separate Defendants sued herein as DOES 1-99, inclusive,

and therefore sues said Defendants by such fictitious names.

12.      DOES 1-99 are believed to be employees and shareholders of PRA and

may be named as individuals or in official capacities.

13.         PRA and DOES 1-99 are collectively referred to as "Defendants". For

ease of reading, individual employees may be referred to by name, or their actions

may be attributed to their employer, PRA.



General Allegations


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14.         PRA made incessant, obnoxious phone calls to the Plaintiff with the

intent of inflicting extreme emotional distress; a goal that was achieved.

15.        The abusive behavior was meant and did in fact coerce Plaintiff to be

recorded against her will and share private information, the month and day of her

birthday and an address with PRA that Plaintiff was not required legally to share.

16.         Plaintiff now has more anxiety that PRA and its employees will use the

private recording and information for purposes as unethical and unlawful as the

violations of statutes outlined below.

17.         PRA violated their obligations and Hammett's rights and inflicted

emotional distress for the sole purpose of attempting to collect an alleged

$2,297.63 debt that was allegedly incurred in or about 2001, that they allegedly

purchased from a credit card company.



Hammett's Glass Head

18.    Plaintiff was raised by a bi-polar mother and was abused as a child.

19.   She developed several unhealthy relationships and Generalized Anxiety

Disorder.

20.   Hammett believes about eight people have stalked since 2001.

21.   She has prosecuted six of her alleged stalkers with varying degrees of

success.
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22.    Hammett has represented herself in nine civil business disputes related to

her real estate and construction business, the vast majority against entities that

were represented by counsel. She prevailed on seven of these, one in Superior

Court in California facing five separate law firms. Seven were as Plaintiff.

23.    Hammett taught herself law by reading and watching material on the

internet.

24.    Every encounter in court is extremely stressful to Hammett.

25.    On July 3, 2020, Hammett learned there was a small claims suit filed

against her in California, asking $10,000 in damages for a car accident that

allegedly happened just under two years earlier. Two years would be the statute of

limitations.

26.    Hammett was in California on business at the time of the accident, but she

flew there, so did not have her car and was not involved in any collision.

27.    The car accident claimant was advised by a law firm that appears to be a

lawsuit mill.

28.     Hammett mailed a draft malicious prosecution suit to the law firm, sent a

letter to the Court and the suit was dismissed without prejudice. But that took

several months, with the slow wheels of justice during the COVID pandemic.

29.     Stalkers and lawsuits are not an exhaustive list of stressors with which

Plaintiff has dealt.
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30.     Before 2015, Hammett was self-hospitalized twice for acute anxiety,

depression and suicidal ideation.

31.     Plaintiff always took appropriate care of her mental health, practices yoga,

is a devout Christian since 2002, eats healthfully, and exercises. She is just

subjected to way too much stressful and inappropriate behavior.

32.    In early 2015, on the advice of her therapist, Plaintiff moved to a remote

property in Arkansas. She was an hour and ten minutes from the nearest Wal Mart.

33.    For a year, she did not tell many from her past where she lived, not even her

sons or her best friend. She told two lawyers. That is all.

34.    Plaintiff called her property PTSD, for Peace Tranquility Serenity Divinity.

35.    It worked like a charm and Hammett was living without any medication or

therapy, just church and lots of exercise outdoors.

36.   Then in 2017 stressors began again.

37.   In 2018 Plaintiff moved to Faulkner County because her husband could not

live at the remote property. Still, the Hammett's home is serene and private, with a

wonderful view of nature.

38.    Unfortunately, Plaintiff had several stressors, including the bogus lawsuit

against her and the COVID-19 pandemic that caused her to have what was

diagnosed as an Adjustment Disorder. (In California she was diagnosed with


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Generalized Anxiety Disorder as per the Diagnostic and Statistical Manual of

Mental Disorders.)

39.     In addition to the stressors listed above, maybe due to the stress in part,

Hammett had several physical medical conditions that started in early 2018. She

had acute back ache for several years. She tore both meniscuses. She had surgery

on one knee, but the other surgery was cancelled due to COVID-19 concerns.

Around November 2020 she got Adhesive Capsulitis, commonly called Frozen

Shoulder Syndrome, an extremely painful ailment that has no magic cure. Her

blood shows an alarming vitamin D deficiency. And she had an abnormal sleep

apnea test and is scheduled for more testing with a sleep clinic.

40.     Because of the physical ailments, Hammett could not do her chosen work,

which was restoring houses. She has been in construction and real estate her entire

adult life and did the physical labor of "flipping" houses, along with her own legal

work.

41.     Instead of investing in real estate, Hammett invested $575,000 of her own

money into the stock market in what she termed "cockroaches", companies that

would survive an atom bomb. She took advantage of small incremental changes in

price. She borrowed the maximum allowed on margin (non-consumer debt) to

increase her opportunity for profit.


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42.    Hammett's strategy was to buy on bad news, usually when a stock dropped

about 10% at the opening bell, then hold until it came up above what she had paid.

If the stock continued to fall, Hammett bought more. Hammett noticed the same

thing as the Reddit investors who bought Game Stop stock, that hedge fund and

other big money managers were manipulating the market. Hammett took advantage

of perceived opportunities by following those big institutional investors on an

individual basis.

43.     Unfortunately, Hammett was holding about a quarter million dollars in

American Airlines Group stock when the market crashed in March 2020. When her

portfolio value fell to what she owed to the margin account plus $75,000, Hammett

sold everything. That was March 16, 2020. Half her net worth was wiped out.

44.      The last time in March 2020 that Hammett looked at her account, it did

not say there was a zero balance, as it should. It was a negative balance of about

$20,000. Hammett went in shock, closed the program, and did not log back into the

account for about nine months.

45.     Then Hammett received mail that said the bank account associated with

her trading account was closed for inactivity. She was just beginning to feel like

she could deal with the problem of the negative balance.




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46.    Hammett called her broker and found that the balance was indeed zero, and

the representative could not tell why there had been that moment where it showed

as a negative.

47.    Luckily, the rest of Hammett's net worth was in real estate. Unfortunately,

real estate is illiquid, and Hammett was not able to ready the properties she had for

a profitable sale because of her physical ailments, stress and difficulty hiring

tradespeople during the pandemic.

48.   Hammett and her husband had no consumer debt and did not want any.

49.   Mr. Hammett was tournament fishing full time in 2019 but had to start his

construction company back up after the COVID pandemic started. He is extremely

busy subcontracting to one particular company. He helps Laura Hammett as much

as he can with her projects but needs to give first priority to the other company that

gives an immediate income stream.

50.    Mr. Hammett has been the sole provider in the household ever since the

market crash. Laura Hammett writes, but has not made any money from it just yeL

51.     The combination of stressors and physical ailments caused Hammett to

have insomnia. It was difficult to fall asleep, and when she did, it was for only a

few hours.



PRA Begins Stalking Hammett in 2020
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52.        It is against this backdrop that PRA began making incessant phone calls

to Hammett.

53.        The number PRA called is Hammett's cell phone.

54.        Hammett does not know when the calls began. She has not sent a

subpoena for her phone record yet.

55.       Often PRA used a California number, but there were calls from several

states.

56.       Sometimes when Hammett answered there would be a long silence and

then a shift in tone, sounding like the calls were made from an auto-dialer.

Occasionally, the call would drop before anyone spoke.

57.       Each time someone did speak they would say "This is [John Doe], calling

from a recorded line."

58.       Hammett did not want to be recorded by an unknown caller. She would

hang up and block the number.

59.        But she would receive another similar call from a different number the

next day, sometimes twice per day.

60.       Hammett, even though it meant being recorded, occasionally demanded the

caller not call her from a recorded line.




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61.     Finally, around November 18, 2020, Hammett realized that the annoying

telephone calls were not going to stop unless she spoke to the callers on a recorded

line against her will.

62.     She estimates having received 120 calls from PRA.

63.     On November 18, 2020, Hammett spoke to PRA and also recorded the call.

She made three more recordings after that. She let PRA know they were being

recorded on each of these calls, even though they gave implied consent by

recording the call themselves.

64.     When asked directly, the callers would tell Hammett that they were calling

on behalf of "Portfolio Recovery Associates", but not what the call was about.

65.    Hammett does not remember when, but she eventually called one of the

numbers that the annoying calls came from and the recording said PRA is a debt

collector.

66.    Hammett conveyed to the caller on November 18, 2020 that she knew he

was with a collection agency and he did not deny it.

67.    She told the caller specifically that he had the right Laura Lynn, and that he

"verified" that. But the caller continued to demand Hammett answer questions

before he would tell her what the alleged debt was. He demanded Hammett

confirm her birthday so they could verify they were speaking to the correct "Laura

Lynn" at the number they dialed to speak to Laura Lynn.
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68.     It was so incredibly bizarre. PRA called Hammett and asked if she was

Laura Lynn. Hammett said yes. Then PRA asked if her birthday was a specific

date. If Hammett said yes, that would be no more verification than when she said

"ya, you've verified it" to her name. PRA had already given the date.

69.    Hammett dreaded how many more personal facts she would be forced to

confirm on a recorded line, basically a deposition, before this uninvited caller

would tell her what rational he had for calling her.

70.    PRA did not inform Hammett that she could send a written request to find

out the purpose of the calls.

71.     It seemed like the caller got bonuses depending on how many questions he

could coerce Hammett into answering, without disclosing the alleged reason he

had to call her in the first place.

72.     PRA said they thought Hammett was in California.

73.     California requires both parties to consent to recording. Technically,- PRA

employees did not commit a crime by calling Hammett on a recorded line, because

she was not residing in California, but they did not know that They flouted the law

by recording someone they thought was in California, even after she had asked

them not to and hung up on them repeatedly.




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74.    Even if calling Hammett in a single party consent state, after the third,

fourth or hundred-seventeenth time she hung up on them, PRA should have tried

something else, or better yet, stopped altogether.

75.    The notification laws of the FDCPA do not specify that a request to cease

communicating by phone must be made by the alleged debtor. Even if Hammett

was not "Laura Lynn", PRA was required to stop calling her phone.

76.    In fact, a debt collector may call a third party for location information once.

FDCPA § 804. But the collector may not make repeated calls. Id§ 804(3)

77.    PRA never asked Hammett if she knew the location of Laura Lynn. They

just demanded the party they called give her social security number, birthday and

address. If PRA doubted that the woman they dialed who said she was Laura Lynn

at the number that belonged to Laura Lynn was not the right Laura Lynn, then they

should have treated the woman as a third party. They should have asked if the

person they dialed knew the location of Laura Lynn, and then stopped calling.

78.    PRA was also in violation of the TCPA.

79.    Laura Lynn at the number they dialed was on the National Do Not Call

Registry. Hammett told PRA she was on the registry. Hammett told PRA to stop

calling that phone.

80.    On November 18, 2020, PRA told Hammett that they are not subject to the

TCPA because they are not telemarketers.
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     81.    PRA is subject to the TCPA and they know they are because they have

     been sued for violations of the TCPA. (see Meyer v. Portfolio Recovery Assocs.,

     LLC, 707 F.3d 1036 (9th Cir. 2012) injunctive relief granted).



     How Plaintiff's Behavior Was Altered By the PRA Phone Calls

     82.     At first, Hammett was troubled by the calls because she did not know who

     was stalking her. Hammett had stopped seeing a therapist a few months earlier but

     started back.

     83.    One possibility was that one of her previous stalkers was back at it.

     Hammett felt nervous.

     84.      It was possibly someone trying to collect the false deficit from Hammett's

     stock account. Hammett felt mad and anxious. She had sold all her stock at a loss

     against her policy and missed the opportunities when the market rebounded,_just so

     she would not lose all her money. Now she feared someone thought she owed

     about $20,000.

     8-5.    Plaintiff often speaks to lawyers and doctors on the phone. The PRA calls

     would disrupt those calls, even if just for a few moments.

     86.      Plaintiff has children she speaks with on the phone. She wants to be

     available to them any time. But Hammett has insomnia and took naps whenever


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she could fall asleep. PRA disrupted several of those naps. So, Hammett had to

turn off her phone and maybe miss a call from her beloved family.

87.    PRA would call after 9 p.m. in Hammett's time zone. This would disrupt

her precious time when she was alone with her hard working, hard playing

husband.

88.    After PRA refused to tell Hammett what her alleged debt was, she spent

time filling out a request for her credit report online. Hammett could not get all the

verification questions right, so she had to fill out a paper request for Equifax, make

copies of her identification, add postage and go to the post office. (Hammett's rural

mailbox is not very secure.)

89.     Hammett's credit report came back showing no credit extended, as she

expected. Hammett was not sophisticated enough to know that debt collectors

could try to collect debts that have already fallen off credit reports. She was

extremely worried then that PRA was trying to collect on a non-existent debL

90.     The calls did not slow down after November 18, 2020~ In fact, Plaintiff

began to document many of the calls and there were at least 29 more. Plaintiff took

the time to call each of these unknown numbers back and each was from PRA.

91.     On February 18, 2021, Hammett told PRA her birthday, because that is the

only way she could convince them to disclose what alleged debt Laura Lynn owed.


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92.        Hammett also gave PRA an address to which they should mail any further

communication. Hammett had already told the UPS Store where she had a PO Box

that she was not going to renew it in April but had to change her mind so she

would not have to give PRA her home address.

93.        Plaintiff will incur the cost of the PO Box until this matter is settled or

adjudicated and any judgment paid.

94.        Hammett did not want to give personal information to a company who had

not validated their ownership of an alleged debt that was too old to collect through

court and had fallen off her credit report.

95.    Since PRA had no right to give Hammett interrogatories, they should not

have coerced her to answer personal questions as a prerequisite to making their

own required disclosures.



PRA Continued to Violate the FDCPA Mter Plaintiff Told Them Ber Address

96.        As of March 10, 2021, PRA has not notified Plaintiff that she can write to

them to request an address for the alleged original creditor and validation of the

alleged debt.

97.        Hammett had to research debt collection practices to discover this right for

herself.


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98.     Hammett sent a seven-page letter to PRA about February 22, 2021 in which

she made a settlement offer for their violations to that date.

99.     Hammett told PRA to keep the envelope for the postmark, because a

snowstorm might delay when the letter written on February 20, 2021 could be put

in the mail.

100. Hammett did not say the specific words "I refuse to pay any debt" or "don't

contact me in any way"; but did specify not to contact her electronically and not to

contact anyone else about her in any way "unless through discovery for any suit I

am forced to file against you."

101. The settlement offer asked for "mutual release and no-contact orders for any

related issues" and did not include any off-set for the alleged debt.

102. It should have been clear to PRA that Hammett did not intend to pay any

alleged debt and did not want to be contacted, except for purposes of settling or

litigating Plaintiffs claims against PRA.

l 03.    Prior to this writing on March 10, 2021, PRA sent a single communication

that arrived at Hammett's PO Box.

104.      On March 1, 2021 at about 9:13 a.m., Hammett called the UPS store and

asked if there was any mail in her box. There is a note on the box that says to call

Hammett if she gets mail, but Hammett was extremely concerned about PRA.

105.     There was no mail.
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106.    Hammett sent a certified letter to PRA on March 3, 2021 dated March 2,

2021 in which she wrote, inter alia, "It is two weeks later [after the February 18th

conversation] and I have not received any correspondence from you."

107.     On March 4, 2021, Hammett went to the UPS store and found a letter

from PRA in her box. The "associate lead" (manager) wrote a note that says she

knows the letter did not arrive until at least March 2, 2021 because they went to a

new system on March 1, 2021 to know who sorted the mail, and it was a new

employee's mark on the envelope.

108.      The letter was in a standard #10 business envelope with a window. It had

"presorted first-class mail U.S. postage paid cis" all capitalized, printed in the top

right comer and no postmark.

109.      The enclosed letter was dated "02/19/2021". If the letter took five days to

arrive and was delivered on March 2nd, it was not put in the mail until at least

February 25, 2021. This was deception by PRA.

110.      It was more than five days after Hammett gave an address to PRA before

they sent anything in writing.

111.      What PRA sent did not have the required disclosures pursuant to 15

U.S.C. § 1692g(a).

112.      What PRA sent was a letter that misstated the conversation Hammett had

with their representative on February 18, 2021. They claimed they "understood"
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that Hammett wished to dispute the account because she was a victim of identity

theft or fraud.

113.      During the conversation Hammett said she had no debt. She repeated

emphatically "I have no debt". Hammett did not mention identity theft or fraud.

114.      The PRA representative identified as Tabitha Voshears said "OK so we'll

put it in a dispute for fraud for you ...just a second ... "

115.      Hammett did not respond to that statement. She thought Ms. Voshears

meant the dispute was whether PRA committed fraud or not. Hammett had not

called what PRA did "fraud" but could understand how PRA might think they were

being accused of fraud. They have been accused of it numerous times before this.

116. There is a bold notice at the bottom of the first page sent. It says:



"This communication is from a debt collector. This communication_ is made

for the limited purpose of responding to your dispute and is NOT an_ attempt

to collect a debt." (Capitalization of"NOT" theirs)

117.    This was another bizarre and deceptive statement by PRA. It is highly

unlikely that if they were NOT trying to collect a debt, they would send a form for

Hammett to fill out that divulged detailed personal information about herself.

118.     Reading through the forms PRA sent took more of Hammett's time and

limited energy.
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119.     Reading through the forms made Hammett think about a terrible time in

her life, upsetting Hammett even more.

120.      Hammett felt compelled to send a response letter to PRA, so they would

not try to claim Hammett agreed with them by her silence. So, Hammett spent

more time writing the letter, driving to the post office and paid $7.00 to send it

certified, return receipt.

121.      Hammett felt a lot of anger and sadness, knowing that PRA treats

thousands of people this same way.

122.      The form sent by PRA looks official, like a legal process. It demands that

the affiant sign in the presence of a notary or witness. Most people of average

sophistication would probably think they were obligated to fill this paperwork out.

Especially if PRA omitted notice that the alleged debtor could demand verification

of the debt first, as PRA did to Hammett.



Plaintiff Recalls Probable PRA Violations from 2014

123.     After thinking about some of the distressing circumstances of her past,

Hammett deduced that PRA made other unlawful efforts to collect a debt around

2014.

124.     In late 2014, a man named Michael Williams came to Hammett's

boyfriend's store. She worked there also.
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125.     Hammett had lived with Michael Williams from about 1997 to 2000. She

broke up with Mr. Williams.

126.     Mr. Williams did not take the break-up well. Hammett had to cut ties

with him completely, as he would show up to her real estate business and lay on

the floor in fetal position crying over the break-up. Hammett thinks she obtained a

restraining order against him, but it would have expired by 2014.

127.     Mr. Williams acted in a similar way during this visit in 2014. But he said

the reason he looked Plaintiff up is that he had numerous calls from "bill

collectors" asking about her. He begged her to make them stop calling him. She

said she did not know who the bill collectors were, and he could not be more

specific. He said the callers would not identify themselves, but that they were

looking for Laura Lynn because she owed money.

128.     It is more probable than not that the incessant calls Michael wmiams

described were made by P~ and PRA told a third party that Plaintiff owed

money that she refused to pay.

129.     After about 15 minutes of a rant where Mr. Williams professed his

continued love for Plaintiff, peppered with demands to "pay your bills", Plaintiff

had to leave the property herself to do some work. Mr. Williams was gone when

she got back.


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130.      The whole incident was extremely humiliating and distressing. PRA's

refusal to tell Mr. Williams who they were is good cause to toll the statute of

limitations for this action.

131.      Hammett is not able to locate Mr. Williams to ask if Portfolio Recovery

Associates sounds familiar to any name the "bill collector'' might have given. It is

quite possible he has passed away.

132.      It is notable that Mr. Williams, a man of average intelligence, was able to

find Plaintiff after almost 15 years after they broke up.

133.      If Mr. Williams could find Plaintiff, a debt collector with skip tracing

capability could certainly find Plaintiff. Plaintiff does not know how many

annoying hang-ups or unidentified caller calls she received back then.

134.      Because PRA backdated the one letter they mailed to Hammett, it is

plausible PRA will alter or destroy evidence of their prior misdeeds, which makes

litigation even more daunting to the pro se litigant.



All facts stated in paragraphs 1 to 134 above are incorporated by reference to

paragraphs into the claims as ifstated therein.



       First Claim for Relief: Violations of the FDCPA

135. The Defendants' actions violate the FDCPA, including but not limited to:
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136.    Section 804. "Any debt collector communicating with any person other

than the consumer for the purpose ofacquiring location information about the

consumer shall identify himself, state that he is confirming or co"ecting location

information concerning the consumer, and, only if expressly requested, identify his

employer; not state that such consumer owes any debt; and not communicate with

any such person more than once unless requested to do so by such person or unless

the debt collector reasonably believes that the earlier response ofsuch person is

erroneous or incomplete and that such person now has co"ect or complete

location information."

137. The Defendants violated this by speaking to Mr. Williams enough to cause

him to search out the Plaintiff and beg her to pay her bills.

138. Section 805(a). "Without the prior consent ofthe consumer given directly to

the debt collector or the express permission ofa court of competent jurisdiction, a

debt collector may not communicate with a consumer in connection with the

collection ofany debt after 9:00 p.m."

139. The Defendants violated this by calling Hammett after 9 p.m. in her local

time~

140. Section 804(c ). "Ifa consumer notifies a debt collector in writing that the

consumer refuses to pay a debt or that the consumer wishes the debt collector to

cease further communication with the consumer, the debt collector shall not
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          communicate further with the consumer with respect to such debt, except

          [exceptions not applicable]."

          141. Hammett could have made PRA cease communicating when they first called

          her if she knew they were a debt collector and knew their company name. PRA did

          not give a meaningful identification and thus gave Hammett no way to contact

          them in writing, until Hammett agreed to be recorded. Thus, PRA violated the

          intent of the law.

          142. Hammett clearly asked PRA in writing to cease communications other than

          for her claim against them in a letter sent about March 20, 2021. PRA sent a letter

          on or after March 25, 2021 anyhow, deceptively backdated it, did not send it

          certified or even post marked, and made an absurd statement that it was not in an

          attempt to collect a debt.

          143. Section 806: "A debt collector may not engage in any conduct the natural

          consequence ofwhich is to harass, oppress, or abuse ariy person in connection

          with the collection ofa debt. "

          144~ The Defendants violated this by contacting Hammett incessantly~ coercing

          her into speaking on a recorded line, and mailing an "affidavit" for Hammett to fill

          out that brought up horrible events from the past that she did not want to think

          about, even after she made it clear she was not going to pay them any money. The

          legislature used the words "any person", not "the consumer" as in many other
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clauses of the act. It is even worse that the Defendants were willing to harass

someone they thought might be an innocent third party.

145. Section 806(5): "Without limiting the general application ofthe foregoing,

the following conduct is a violation of this section: Causing a telephone to ring or

engaging any person in telephone conversation repeatedly or continuously with

intent to annoy, abuse, or harass any person at the called number."

146. The Defendants violated this by making about 120 calls to Hammett that

Hammett refused to speak with them on.

147. Section 807(10): "A debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection ofany debt.

Without limiting the general application ofthe foregoing, the following conduct is

a violation ofthis section: The use ofany false representation or deceptive means

to collect or attempt to collect any debt or to obtain information concerning a

consumer."

148. The use of the Affidavit was deceptive.

149. The Legislature's language did not specify that the consumer be deceived. It

specified that the communication may not be deceptive. Backdating the letter

mailed sometime after February 25, 2021 was an attempt to deceive this Court and

Jury.


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150. Section 807(11): "The failure to disclose in the initial written

communication with the consumer and, in addition,    if the initial communication
with the consumer is oral, in that initial oral communication, that the debt

collector is attempting to collect a debt and that any information obtained will be

used for that purpose, and the failure to disclose in subsequent communications

that the communication is from a debt collector, except that this paragraph shall

not apply to a formalpleading made in connection with a legal action."

151. There is no exception if the person they dial refuses to be recorded or if the

person they dial will not go through a verification process as if the consumer

instigated the inquiry.

152. Section 807(13): "The false representation or implication that documents

are legal process." The "Portfolio Recovery Associates, LLC Identity Theft

Affidavit" sent by the Defendants requires a signature of a "notary" or "witness".

"Affidavit'',- "Notary" and "Witness" would imply legal process to an

unsophisticated consumer and even to a sophisticated consumer~

153. Section 807(14): "The use ofany business, company, or organization name

other than the true name of the debt collector's business, company, or

organization." PRA representatives said the company name is "Portfolio Recovery

Associates" instead of "Portfolio Recovery Associates, LLC" several times, even

after Hammett asked them directly if they were an "LLC". If PRA shareholders
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want to hide behind the veil of a Delaware LLC, they must let the consumer know

they are a limited liability company and their true and correct name.

154. In fact, on the legal looking document the Defendants mailed, they write out

their complete name and then shorten the name with a legal shorthand to "('PRA,

LLC')". PRA must be just as forthcoming on their less legal sounding

communications.

155. Section 809(a)(3): "Within.five days after the initial communication with a

consumer in connection with the collection ofany debt, a debt collector shall,

unless the following information is contained in the initial communication or the

consumer has paid the debt, send the consumer a written notice containing: a

statement that unless the consumer, within thirty days after receipt ofthe notice,

disputes the validity ofthe debt, or any portion thereof, the debt will be assumed to

be valid by the debt collector."

156. PRA did not do this.

157. Section 809(a)(4): "a statement that if the consumer notifies the debt

collector in writing within the thirty-day period that the debt, or any portion

thereof, is disputed, the debt collector will obtain verification ofthe debt or a copy

ofa judgment against the consumer and a copy ofsuch verification or judgment

will be mailed to the consumer by the debt collector."

158. PRA did notdo this.
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159. Section 809(a)(5): "a statement that, upon the consumer's written request

within the thirty-day period, the debt collector will provide the consumer with the

name and address ofthe original creditor."

160. PRA did not do this.



Second Claim for Relief: for Violations of the TCPA, 47 U.S.C. 277

161. PRA' s actions violate the TCPA, including but not limited to: Section

b(l )(A)(iii): "It shall be unlawful for any person within the United States, or

any person outside the United States if the recipient is within the United States to

make any call (other than a call made for emergency purposes or made with the

prior express consent of the called party) using any automatic telephone dialing

system or an artificial or prerecorded voice to any telephone number assigned to a

paging service, cellular telephone service, specialized mobile radio service, or

other radio common carrier service, or any service for which the called party is

charged for the call~ unless such call is made solely to collect a debt owed to or

guaranteed by the United States." (bold added)

162. PRA made approximately 120 unwanted calls, despite plaintiffs pleas to

cease and desist. The violations were made willingly, maliciously, with full

knowledge that they were violating the law.


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Third Claim for Relief: Tortious Infliction of Emotional Distress, Outrage

163. The Defendants intended to inflict emotional distress or knew or should have

known that emotional distress was the likely result of their conduct.

164. Any juror would hate to have PRA make these 120 phone calls to them. It

was especially cruel when 33% of the population is reporting mental health issues

and waiting with bated breath for a stimulus check.

165. The Defendants backdated a letter. This caused cognitive dissonance in

Plaintiff. It is reasonable for Plaintiff to believe PRA will do more deceptive acts in

these proceedings.

166. After receiving the letter mailed February 22, 2021, PRA had no right to

mail anything, much less the prying "affidavit" to Plaintiff.

167. PRA has not to date validated a debt from Plaintiff to them. If they cannot

validate a debt, they had no right to make any communication.

168. The Defendants' conduct was "extreme and outrageous," was "beyond all

possible bounds of decency," and was "utterly intolerable in a civilized

community". That is why the legislature enacted the FDCPA and the TCPA.

169.    Many people might have screamed, cussed, or cried if subjected to the

same behavior. Plaintiff entered therapy, took pills and wrote this lawsuit, instead.

170.    The actions of the defendant were the cause of the plaintiffs distress.


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171.     Plaintiff had several things contributing to her anxiety, but the Defendant

takes the Plaintiff as they find her. Their actions were the tipping point.

172.     The emotional distress sustained by the plaintiff was so severe that no

reasonable person could be expected to endure it. One call is a nuisance.

Somewhere after two calls is unacceptable. 120 calls is beyond endurance. That is

why Hammett finally succumbed and spoke to these reprehensible characters on a

recorded line.



Fourth Claim for Relief: Tortious Invasion of Privacy by Intrusion

173. PRA invaded Hammett's privacy by refusing to stop calling her unless she

spoke on a recorded line.

174. By calling Hammett repeatedly without meaningful identification, PRA

forced Hammett to be taped in order to make the calls stop.

175. It is true that the credit reporting agencies require verification of who is

asking for information. But that is because the inquirer instigates the transaction.

176. PRA instigated the transactions. PRA dialed the number that belonged to

"Laura Lynn". Hammett answered the phone "Hi this is Laura" the first few times

PRA called her. Hammett said she was "Laura Lynn".

177. PRA had no legitimate purpose or right to demand the person they called tell

her birthday.
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178. PRA had no legitimate purpose or right to demand Hammett to lend her

voice to their recordings.

179. There is a "safe-harbor" clause in the FDCPA so that if PRA told someone

who verified she was "Laura Lynn" what the debt was and then found that it was

not the right person, they would not be liable for damages.

180. If PRA asked Hammett to allow them to record her to use for training

purposes, Hammett would demand compensation of$10,000,000. PRA should

have negotiated compensation before they made the tapes.

181. Hammett's solitude is extremely important to her and PRA purposefully

infringed upon it.



Request For Jury

182. Plaintiff requests a jury of her peers rather than a bench trial. To alleviate

some backup caused by the COVID-19 pandemic, Plaintiff requests the smallest

jury allowed by Court rule or stipulation of the defendant.



Request for Relief

183. Plaintiff requests that this Court:

   a) Enjoin Defendants from contacting Laura Lynn Hammett except through

      their counsel for purposes directly connected to this litigation;
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  b) Award actual damages as proven at trial and $1,000 statutory damages for

     violations of the FDCPA against PRA;

  c) A ward statutory damages of $1,500 per phone call for the number of phone

     calls a jury believes were made by PRA to Hammett for violation of the

     TCPA;

  d) Award actual damages compensatory for the emotional distress caused by

     the Defendants, including PRA and DOES 1-99;

  e) Award actual damages compensatory for the invasion of Hammett's privacy

     by the defendants, including $10,000,000 for recording her, from PRA and

     DOES 1-99 jointly and severally;

  t) A ward punitive damages against each defendant severally enough to deter

     them from continuing and repeating their actions against others and to

     punish them for harassing the Plaintiff with malice and complete disregard

     for her rights. Doe defendants need to know that their earning minimum

     wage or a fat executive salary is not a good rational for their obnoxious,

     annoying, and distressful policies and practices;

  g) A ward reasonable attorney fees and costs;

  h) Award other relief as the Court deems just and proper.




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Respectfully Submitted,

Laura Lynn Hammett
500 Amity Road, Suite 5B #306
Conway, Arkansas 72032
(760) 966-6000

Plaintiff in Pro Se

Dated March 10, 2021

                                               Laura Lynn Hammett




VERIFICATION

I, Plaintiff Laura Lynn, state that the contents of the pleading above are true to my

knowledge, except as to those matters stated on information and belief, and as to

those matters, I believe them to be true.



Dated March 10, 2021

                                     Laura Lynn Hammett, Plaintiff in Pro Se




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